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                 IN THE UNITED STATES DISTRICT COURT

           IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                SAN JOSE DIVISION


FEDERAL TRADE COMMISSION                 Case No. 5:22-CV-04325 EJD (SVK)

                  Plaintiff,

      v.

META PLATFORMS INC., et al.,

                  Defendants.



                       ADMITTED TRIAL EXHIBIT LIST




                          REDACTED PUBLIC VERSION
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